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                      EXHIBIT B
COMPLAINT TO TRANS UNION, LLC
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STATE OF MINNESOTA                                                       DISTRICT COURT
County of Hennepin                             Judicial District:        Fourth
                                               Case Type:                Civil Other/Misc.




                                                                    Case No:
 Jason McKinley,
 Plaintiff

 vs
                                                                    COMPLAINT
 Equifax Information Services, Inc., Trans
 Union LLC, Barclays Bank Inc.
 Defendants




             Plaintiff, by and through his attorneys, for his Complaint against Defendants upon
      personal knowledge as to his own facts and conduct and on information and belief as to
      all other matters, states and alleges as follows: -


                 Nature of the Case and Defendan"ts' Unlawful Business Practices

             Mr. McKinley's experience with Defendants is typical of those of too many

      American consumers. Mr. McKinley is presently seeking to buy a home only to be told

      that Defendant Barclays has furnished to the Defendant consumer reporting agencies

      ("CRAs") negative information about him regarding an account for which Mr. McKinley

      had no prior knowledge, did not authorize, and is not responsible for in any way. The

      Defendant CRAs have in turn reported that Mr. McKinley recently defaulted on a credit
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card issued by Barclays and that as a result of this data Mr. McKinley is a substantial

credit risk and potential lenders should avoid.

2.     Like untold numbers of individuals in similar circumstances, upon discovery of

the false information on his report, Mr. McKinley acted promptly to correct the

information by submitting a request for reinvestigation both to the furnisher and to each

of the CRAs pursuant to his rights under the Fair Credit Reporting Act, 15 U.S.C. § 1681

et. seq.

3.     After submitting his disputes to the defendant CRAs, the companies transmitted

word of his disputes to Defendant Barclays, which responded to the CRAs informing

them the false information was verified as accurate.

4.     The Defendant CRAs in turn made no effort to substantiate the information and

instead parroted the response of Barclays and thereaffter informing Mr. McKinley that the

information was verified as accurate and would continue to be reported to potential

creditors.

5.     In fact, the CRAs continued to report the false information to all of Mr.

McKinley's potential creditors, casting Mr. McKinley as a debtor unable to pay his

obligations and therefore an unworthy borrower who should not be lent money.

6.     Indeed, Mr. McKinley was denied credit on at least one occasion and fully expects

to be denied for his request for a home loan now under review.

                          Statement of Jurisdiction and Venue




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7.      This Court has original subject-matter jurisdiction over this action pursuant to 15

U.S.C. § 1681 et. seq., The Fair Credit Reporting Act ("FCRA"), which permits

consumers to file suit in the courts of their respective states.

8.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to Plaintiff s claims occurred in this district.

                                  Applicable Statutory Law

9. The FCRA's requirements apply to any Credit Reporting Agency ("CRA"), which

     Section 603(f) defines as:


        "[A]ny person which, for monetary fees, dues, or on a cooperative
        nonprofit basis, regularly engages in whole or in part in the practice of
        assembling or evaluating consumer credit information or other information
        on consumers for the purpose of furnishing consumer reports to third
        parties; and which uses any means or facility of interstate commerce for the
        purpose of preparing or furnishing consumer reports."

        15 U.S.C. § 1681a(f).

10. FCRA Section 603(d) defines a"consumer report" as:


        "[A]ny written, oral, or other communication of any information by a
        consumer reporting agency bearing on a consumer's credit worthiness,
        credit standing, credit capacity, character, general reputation, personal
        characteristics, or mode of living which is used or expected to be used or
        collected in whole or in part for the purpose of serving as a factor in
        establishing the consumer's eligibility for (A) credit or insurance to be used
        primarily for personal, family, or household purposes; (B) employment
        purposes; or (C) any other purpose authorized under Section 604."

        15 U.S.C. § 1681a(d).

11. CRAs that sell consumer reports must comply with the FCRA. FCRA Section

     607(b), 15 U.S.C. § 1681e(b), requires a CRA to follow reasonable procedures

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       to assure the maximum possible accuracy of consumer report information,

       including assuring that only information pertaining to the consumer at issue is

       contained in his or her report.

12. Section 611 of the FCRA, 15 U.S.C. § 1681i, requires a CRA upon notice of

      disputed information to conduct a reasonable reinvestigation to determine the

      accuracy of information disputed by a consumer who is the subject of a report.

             a. The same section requires that notice of the reinvestigation be

                promptly provided to the furnisher of the credit information.

             b. If after any reinvestigation an item is found to be inaccurate or

                cannot be verified, the CRA shaII promptly delete that item from the

                 file of the consumer.

13. Furnishers of information to CRAs must also comply with certain aspects of

      the Act. Section 623 of the FCRA, 15 U.S.C. § 1681s-2, addresses the duties of

      persons who furnish information to the CRAs. fihis section of the Act prohibits

      a fiunisher from reporting any information to a CRA if the person knows or

      has reasonable cause to believe that the information is inaccurate.

                                            Parties

14.      Plaintiff is an adult resident of Minnesota.

15.      Defendant Equifax Information Services, Inc. is a foreign consumer reporting

agency registered in the State of Georgia with a service of process address listed as 2345

Rice Street, Suite 230, Roseville, Minnesota.



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16.    Defendant Trans Union, LLC is a foreign consumer reporting agency registered in

the State of Delaware with a service of process address listed as 2345 Rice Street, Suite

230, Roseville, Minnesota.

17.    Defendant Barclays Bank Inc. is a foreign corporation and a furnisher of consumer

data to major CRAs. According to the FDIC, the bank also does business under the

assumed name Barclaycard US and has a registered address listed as 2345 Rice Street,

Suite 230, Roseville, Minnesota.

18.    Plaintiff is informed and believes, and thereon alleges, that at all times relevant

Defendants all conducted business in the State of Minnesota and in the County of

Hennepin.

                              Facts Common to All Claims

19.    Plaintiff is an individual "consumer" as defined by 15 U.S.C. § 1679a(1) and §

1681a(c).

20.    The Defendant CRAs are "consumer reporting agencies" as defined by the Fair

Credit Reporting Act, 15 U.S.C. § 1681a(f) because the companies are in the business of

assembling and analyzing consumer information before selling consumer reports to third

parties.

21.    Each of the Defendant CRAs prepared and issued consumer reports concerning

Plaintiff that included false and inaccurate information, including that Plaintiff was

responsible for a charged off debt pertaining to a Barclays credit card.

22.    Various individuals seeking to lend to Plaintiff consulted consumer reports

furnished by Defendants containing the false information at issue.

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23.      The direct result of Defendants' issuance of consumer reports to potential lenders

containing the false information at issue, including information not reasonably verified,

has been significant damage to the perceived reputation of Plaintiff a.nd Plaintiff s ability

to borrow money and conduct commerce.

24.      Specifically, Defendant's false reports have to date prevented Plaintiff from

obtaining a credit card and even delayed his purchasing of a home.

25.      As a direct result of Defendant's conduct, Plaintiff has suffered from increased

stress, anger, frustration, anxiety and, the loss of the ability to borrow money on

favorable terms and thereby loss of a means of improving his social and economic

position.

                   Facts Regarding Violation of Section 607(b) of the FCRA

                                        15 U.S.C. § 1681e(b)

26.Section 607(b) of the FCRA, 15 U.S.C. 1681e(b) expressly requires a CRA to follow

   reasonable procedures to assure the maximum possible accuracy of consumer report

      information, including that only information pertaining to the consumer at issue is

      contained in his or her report.

             a. Defendant, however, routinely furnishes consumer reports containing

                adverse information about accounts for which the subject of the report is

                merely an authorized user with no liability for the account in question.

             b. Because the subject of the report has no liability, lenders do not typically

                require the authorized user's verification or authorization before issuing a

                card in the authorized user's name.

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           c. Thus, there is not a process in place to assure that an authorized user

              consents to issuance of a card in his or her name prior to said issuance.

           d. Under such circumstances there is a high likelihood of errors pertaining to

              alleged authorized users.

           e. Despite this, the Defendant CRAs allow furnishers to report information,

              including debts, to the consumer files of authorized users.

           f. In the present matter Mr. McKinley had no knowledge of the issuance of a

              card in his name and defendant Barclays did nothing to assure Mr.

              McKinley authorized the card in question.

           g. Despite this, defendant Barclays furnished negative information to the CRA

              defendants about Plaintiff. The CRA defendants, lacking reasonable

              procedures to assure such false information is not added to a consumer's

              file, in turn added the false information to Plaintiff's consumer file and

              thereafter furnished the same to Plaintiff's potential creditors, causing

              Plaintiff to be cast in a negative light with regard to his payments of debts.

27.As a direct result of Defendant failing to enact the reasonable procedures to assure

   maximum accuracy, Plaintiff s consumer files contained false information not relating

   to Plaintiff and the CRAs informed Plaintiff's potential creditors that Plaintiff was at

   higher risk for nonpayment of debts and therefore an undesirable credit risk.

28.Similarly, as a further result of Defendants' failure to fulfill their statutory duty,

   Plaintiff suffered personal financial loss and loss of standing in the community.



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29. Plaintiff was further harmed by incurring legal and professional fees in consulting

   with various experts regarding the course of action for correcting the error at issue.

30.Finally, Plaintiff suffered from loss of personal and professional time as a direct result

   of each defendant CRAs' refusal to remove the false and defamatory information and

   each company's refusal to comply with its statutory duties.



                Facts Regarding Violation of Section 611 of the FCRA

                                       15 U.S.C. §1681i


31. Section 611 of the FCRA, 15 U.S.C. § 1681i, requires a CRA upon notice of

   disputed information to conduct a reasonable reinvestigation to determine the

   accuracy of the disputed information.

32.Plaintiff submitted numerous disputes and notices of the false information contained

   in his report, including valid requests for reinvestigation sent to the addresses listed by

   the CR.A defendants for receipt of such notices and a letter sent to Barclays at its

   address listed for receipt of such disputes.

33. Specifically, Plaintiff sent all Defendants such notices on August 10, 2020.

34.In response Plaintiff received notice that the information contained was verified as

   accurate and that no information would be removed from his consumer files. Thus,

   Plaintiff was informed that the CRAs would continue to report that Mr. McKinley was

   responsible for the debt in question.




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35.As a direct result of Defendant Barclays failing to correct the inaccurate information

   contained in PlaintifPs consumer files, the CRAs informed Plaintiffis potential

   creditors that Plaintiff was at higher risk for nonpayment of debts and therefore an

   undesirable credit risk.

36.Similarly, as a further result of Defendant Barcalys' failure to fulfill its statutory duty,

   Plaintiff suffered personal financial loss and loss of standing in the community.

37.Plaintiff was further harmed by incurring legal and professional fees in consulting

   with various experts regarding the course of action for correcting the errors.

3 8. Finally, Plaintiff suffered from loss of personal and professional time as a direct result

   of each Defendant CRA's refusal to remove the false and defamatory information and

   each company's refusal to comply with its statutory duties.

                 Facts Regarding Violation of Section 623 of the FCRA

                                     15 U.S.C. §1681s-2
39.Section 623 of the FCRA, 151T.S.C. § 1681s-2, prohibits a furnisher of information to

   a CRA from fumishing any information relating to a consumer to any CRA if the

   person knows or has reasonable cause to believe that the information is inaccurate.

40.Plaintiff submitted numerous disputes and notices regarding the false information

   contained in his report, including valid requests for reinvestigation sent to the

   addresses listed by the CRA defendants for receipt of such notices and a letter sent to

   Barclays at its address listed for receipt of such disputes.

41.Specifically, Plaintiff sent all Defendants such notices on August 10, 2020.



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42.In addition to Plaintiff directly informing Barclays of the inaccuracy of the

   information the bank was furnishing, each of the CRAs also informed the Barclays of

   the same dispute.

43.In response the Defendant failed to conduct a reasonable reinvestigation and instead

   verified the information as accurate without regard to truth.

44.The Defendant's verification was communicated to each of the CRA defendants,

   which in turn parroted verification of the false information without conducting any

   investigation of their own and without consulting any additional information.

45.As a direct result of Barclays' failure to correct the inaccurate information contained

   in PIaintiffs consumer files, the CRAs informed Plaintiff's potential creditors that

   Plaintiff was at higher risk for nonpayment of debts and therefore an undesirable

   credit risk.

46.Similarly, as a further result of Defendant's failure to fulfill its statutory duty, Plaintiff

   suffered personaI fmancial Ioss and loss of standing in the community.

47.Plaintiff was further harmed by incurring legal and professional fees in consulting

   with various experts regarding the course of action for correcting the errors.

48.Finally, Plaintiff suffered from loss of personal and professional time as a direct result

   of Barclays' improper refusal to correct the false and defamatory information it

   furnished about Plaintiff.



                                       FIRST COUNT

                          Willful Noncompliance with the FCRA

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                                   (Against All Defendants)

49.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

50.    The Defendant CRAs willfully failed to comply with the requirements of FCRA,

including but not limited to:

       a.     failing to comply with the requirements of Section 607(b), 15 USC §

              1681 e(b), in assuring consumer reports are prepared with maximum

              possible accuracy;

       b.     failing to comply with the requirements of Section 611, 15 USC § 1681 i, in

              failing to conduct a reinvestigation of the disputed information;

51.    Barclays willfully failed to comply with the requirements of the FCRA, including

       but not limited to:

       a.     failing to comply with the requirements of Section 623 including a)

              reporting information with actual knowledge of errors and b) continuing to

              report false information after notice from the consumer that the information

              was false.

27.    As a result of Defendants' failure to comply with the requirements of FCRA,

Plaintiff has suffered, and continues to suffer, actual damages, including economic loss,

lost opportunity to receive credit, damage to reputation, interference with his normal and

usual activities, emotional distress, anger, frustration, humiliation, anxiety, fear, worry,

and related health problems, for which Plaintiff seeks damages in an amount to be

determined bv the

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28.    Plaintiff requests attorney's fees pursuant to 15 USC § 1681n(a).

                                      SECOND COUNT

                        Negligent Noncompliance with the FCRA

                                    (Against All Defendants)

52.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

22.    Defendant negligently failed to comply with the requirements of the FCRA,

including but not limited to:

       a.      failing to comply with the requirements of Section 607(b), 15 USC §

               1681e(b), in assuring consumer reports are prepared with maxirnum

               possible accuracy;

       b.      failing to comply with the requirements of Section 611, 15 USC § 1681i, in

               failing to conduct a reinvestigation of the disputed information;

53.    Barclays negligently failed to comply with the requirements of FCRA, including

       but not limited to:

            a. failing to comply with the requirements of Section 623 including a)

               reporting information with actual knowledge of errors and b) continuing to

               report false information after notice from the consumer that the information

               was false.

54.    As a result of Defendant 's failure to comply with the requirements of FCRA,

       Plaintiff and all potential class members have suffered, and continue to suffer,

       actual damages, including economic loss, lost opportunity to receive credit,

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       damage to reputation, invasion of privacy, interference with normal and usual

       activities, emotional distress, anger, frustration, humiliation, anxiety, fear, worry,

      and related health problems, for which Plaintiff and the class members seek

       damages in an amount to be determined by a jury.

24.    Plaintiff requests attorney's fees pursuant to 15 USC § 1681 o(a).

                                     Prayer for Relief

      WHEREFORE, Plaintiff, by and through his attorney, respectfully prays for

judgment in favor of Plaintiff and against Defendant as follows:

      a.      all actual compensatory damages suffered;

       b.     statutory damages in an amount up to $1,000.00 per violation per plaintiff,

              pursuant to 15 U.S.C. §1681n;

       d.     injunctive relief prohibiting such conduct in the future;

       e.     reasonable attorney's fees, litigation expenses, and cost of suit; and

       f.     any other relief deemed appropriate by this Honorable Court.


Dated: September 11, 2020           Respectfully Submitted,

                                    By: slDavid J.S. Madgett
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                                    ATTORNEY FOR PLAINTIFF

                                      Acknowledgement


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Plaintiff acknowledges that, pursuant to Minn. Stat. Sec. 549.21 sub. 2, the Court in its
discretion may award costs, disbursements, reasonable attorney's fees and witness fees to the
parties against whom costs, disbursements, reasonable attorney's fees and witness fees were
charged in bad faith.


Dated: September 11, 2020                By: /s/       David J.S. Madgett




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